     Case 1:17-cv-02630-JFK-OTW Document 115 Filed 11/27/19 Page 1 of 1


                                                                         ELEC1RU>~lC.\LL'{ Flt LD
UNITED STATES DISTRICT COURT                                             DOC#.         ______________ _
                                                                     1
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
                                                                     '
                                                                     , ~, T
                                                                     1LA,E  Fl ' :'
                                                                     L----------   -
                                                                                       -- 'f]J1] 1~I
                                                                                        ~
                                                                            - 1:f.1), __ 1__,   _____
                                                                                                         -
                                                                                                        ----


SECURITIES AND EXCHANGE COMMISSION,
                    Plaintifi~                                             17 CIVIL 2630 (JFK)

                 -against-                                                    JUDGMENT

MUSTAFA DAVID SA YID and NORMAN
T. REYNOLDS,
                     Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated November 25, 2019, the motion of the SEC for

summary judgment is GRANTED as against Sayid and Reynolds for violating Sections 5 and

l 7(a) of the Securities Act of 1933 and Section l0(b) of the Securities Exchange Act of 1934.

Dated: New York, New York
       November 27, 2019



                                                                         RUBY J. KRAJICK

                                                                           Clerk of Court
                                                               BY:
                                                                          ~~
                                                                          DeputyCler
